                                            Case 3:20-cr-00266-JST Document 109 Filed 12/06/21 Page 1 of 6




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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        UNITED STATES OF AMERICA,                        Case No. 20-cr-00266-JST-1
                                                          Plaintiff,
                                   8
                                                                                             ORDER GRANTING IN PART AND
                                                  v.                                         DENYING IN PART DEFENDANT’S
                                   9
                                                                                             MOTION TO STRIKE SURPLUSAGE
                                  10        MICHAEL BRENT ROTHENBERG,                        OR, ALTERNATIVELY, FOR A BILL
                                                                                             OF PARTICULARS
                                                          Defendant.
                                  11
                                                                                             Re: ECF No. 86
                                  12
Northern District of California
 United States District Court




                                  13           Before the Court is Defendant Michael Brent Rothenberg’s motion to strike surplusage or,

                                  14   alternatively, for a bill of particulars. ECF No. 86. The Court will grant the motion in part and

                                  15   deny it in part.

                                  16   I.      BACKGROUND

                                  17           A grand jury charged Rothenberg with 23 counts of criminal conduct stemming from

                                  18   fraudulent activities he allegedly committed as founder of Rothenberg Ventures Management

                                  19   Company, LLC.1 ECF No. 15 ¶ 25. The charges include accusations that Rothenberg defrauded

                                  20   investors by misrepresenting his investment activities and misusing investors’ funds. Id. The

                                  21   indictment identifies some investor victims by name, but also refers to “certain investors” and

                                  22   “potential investors” generically. On September 13, 2021, Rothenberg filed this motion to strike

                                  23   references to both aiding and abetting liability as well as “potential” and “certain” investors from

                                  24   the indictment or, in the alternative, to order a bill of particulars on the grounds that the indictment

                                  25   fails to provide him with sufficient notice of the charges. ECF No. 86. The Government filed an

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                                  27     Rothenberg Ventures Management Company subsequently changed its name to Frontier
                                       Technology Venture Capital LLC and then to Rothenberg Ventures LLC. ECF No. 15 at 1. The
                                  28   Court uses “Rothenberg Ventures Management Company” or “RVMC” to refer to the entity at any
                                       relevant time.
                                             Case 3:20-cr-00266-JST Document 109 Filed 12/06/21 Page 2 of 6




                                   1   opposition, ECF No. 95, and Rothenberg replied, ECF No. 98.

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                                   3   II.      LEGAL STANDARD

                                   4            “Upon the defendant’s motion, the court may strike surplusage from the indictment . . . .”

                                   5   Fed. R. Crim. P. 7(d). “The purpose of Rule 7(d) is to protect a defendant against prejudicial or

                                   6   inflammatory allegations that are neither relevant nor material to the charges.” United States v.

                                   7   Ramirez, 710 F.2d 535, 544-45 (9th Cir. 1983).

                                   8            Federal Rule of Criminal Procedure 7(f) provides that “[t]he court may direct the

                                   9   government to file a bill of particulars” if made “before or within 14 days after arraignment or at a

                                  10   later time if the court permits.” A bill of particulars serves three purposes:

                                  11                   [1] to inform the defendant of the nature of the charge against him
                                                       with sufficient precision to enable him to prepare for trial, [2] to avoid
                                  12                   or minimize the danger of surprise at the time of trial, and [3] to enable
Northern District of California
 United States District Court




                                                       him to plead his acquittal or conviction in bar of another prosecution
                                  13                   for the same offense when the indictment itself is too vague, and
                                                       indefinite for such purposes.
                                  14

                                  15   United States v. Giese, 597 F.2d 1170, 1180 (9th Cir. 1979) (internal quotation marks and citation

                                  16   omitted). A defendant “is not entitled to know all the evidence the government intends to produce

                                  17   but only the theory of the government’s case.” United States v. Ryland, 806 F.2d 941, 942 (9th

                                  18   Cir. 1986) (emphases in original). Likewise, “[a] bill of particulars, unlike discovery, is not

                                  19   intended to provide the defendant with the fruits of the government’s investigation. Rather, it is

                                  20   intended to give the defendant only that minimum amount of information necessary to permit the

                                  21   defendant to conduct his own investigation.” United States v. Hsuan Bin Chen, No. 09-CR-110-

                                  22   SI, 2011 WL 332713, at *7 (N.D. Cal. Jan. 29, 2011) (internal quotations and citations omitted)

                                  23   (emphasis in original).

                                  24            In determining whether to direct the government to file a bill of particulars, the “court

                                  25   should consider whether the defendant has been advised adequately of the charges through the

                                  26   indictment and all other disclosures made by the government.” United States v. Long, 706 F.2d

                                  27   1044,1054 (9th Cir. 1983). “To the extent that the indictment or information itself provides details

                                  28   of the alleged offense, a bill of particulars is, of course, unnecessary.” Giese, 597 F.2d at 1180
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                                           Case 3:20-cr-00266-JST Document 109 Filed 12/06/21 Page 3 of 6




                                   1   (internal quotations and citation omitted). “The decision whether to grant a request for a bill of

                                   2   particulars is directed to the trial court’s discretion.” Long, 706 F.2d at 1054.

                                   3   III.   DISCUSSION

                                   4          Rothenberg moves to strike references to “aiding and abetting liability” and “potential” and

                                   5   “certain” investors in the superseding indictment as prejudicial surplusage. Alternatively,

                                   6   Rothenberg moves the Court to require the Government to provide a bill of particulars identifying

                                   7   “potential investors,” “certain investors,” and anyone he is alleged to have aided and abetted.2

                                   8          A.      “Potential Investors” and “Certain Investors”3

                                   9          Although an indictment “need not identify . . . fraud victims by name,” it must provide

                                  10   enough information to assure the defendant “that the indictment and the prosecution were in fact

                                  11   for the same violations.” United States v. Lonich, No. 14-CR-00139-SI-1, 2016 WL 324039, at *7

                                  12   (N.D. Cal. Jan. 27, 2016) (quoting United States v. Loayza, 107 F.3d 257, 261 (4th Cir. 1997)).
Northern District of California
 United States District Court




                                  13          In Loayza, a case cited with approval by courts in this circuit, the Fourth Circuit held that

                                  14   an indictment provided enough information about unnamed victims where the indictment included

                                  15   the number of unnamed investors that had been defrauded, the amount of money involved, the

                                  16   dates and amounts of the checks, and the identification of the investment company that sent the

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                                         The Government argues that Rothenberg’s request for a bill of particulars should be denied
                                       because it is untimely under Rule 7(f). ECF No. 95 at 15 n.6; see Fed. R. Crim. P. 7(f) (“The
                                  19   defendant may move for a bill of particulars before or within 14 days after arraignment or at a
                                       later time if the court permits.”) (emphasis added). The Court disagrees. Rothenberg’s motion
                                  20   was filed within the filing period set by the Court pursuant to the parties’ stipulations. See ECF
                                       No. 82; United States v. Taylor, No. 17-CR-00191-JST-1, 2018 WL 4961608, at *3 (N.D. Cal.
                                  21   Oct. 12, 2018). The Court will consider the motion on the merits.
                                       3
                                  22     The Government argues that the prejudicial effect of any surplusage can be cured by withholding
                                       the indictment from the jury. Other circuits, as well as courts within this circuit, have approved of
                                  23   this approach. See, e.g., United States v. Awan, 966 F.2d 1415, 1426 (11th Cir. 1992) (finding no
                                       prejudice where “the jury was unaware of the language stricken from the indictment” five months
                                  24   into trial); United States v. Williams, 445 F.3d 724, 734 (4th Cir. 2006) (“we fail to see how
                                       Williams could have been prejudiced by the inclusion of those allegations in the indictment,
                                  25   particularly since the indictment was not given to the jury”); U.S. v. Hedgepeth, 434 F.3d 609, 613
                                       (3d Cir. 2006) (“we need not address whether the sentencing factors were relevant to the charged
                                  26   offense because the Government claims that the third superseding indictment was neither shown
                                       nor read to the jury”); United States v. Bordewick, No. CR-06-00022-DLJ, 2007 WL 4287333, at
                                  27   *4 (N.D. Cal. Dec. 5, 2007) (“[a]llegations in the indictment that are never read to the jury are not
                                       prejudicial and therefore need not be stricken”). Therefore, the Court focuses this order on
                                  28   Rothenberg’s “primary complaint” that the superseding indictment lacks sufficient information to
                                       allow him to prepare a defense. See ECF No. 98 at 4 n.2.
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                                           Case 3:20-cr-00266-JST Document 109 Filed 12/06/21 Page 4 of 6




                                   1   checks. 107 F.3d at 261. In Lonich, on the other hand, a court in this district struck the phrase

                                   2   “and others” from portions of the indictment because the court found the indictment “open-ended

                                   3   and unclear as to the number of victims.” 2016 WL 324039, at *7.

                                   4           This case is more like Lonich than Loayza. The references to “certain investors” and

                                   5   “potential investors” in counts 5-7 and 12-23, unaccompanied by any additional information about

                                   6   the victims or transactions in question, also render the superseding indictment “open-ended and

                                   7   unclear.” See id. Such vague language is problematic because it “permit[s] the prosecution to go

                                   8   beyond the specific charge . . . made by the grand jury when presenting evidence at trial.” Id. at

                                   9   *6 (quoting United States v. Menendez, 137 F. Supp. 3d 688, 707 (D.N.J. 2015), aff'd, 831 F.3d

                                  10   155 (3d Cir. 2016)). Therefore, the Court finds that if the Government intends to prove that

                                  11   Rothenberg harmed victims described in the indictment as “potential investors” or “certain

                                  12   investors,” it must provide additional information. See id. at *7. However, the counts still stand
Northern District of California
 United States District Court




                                  13   as to the identified victims.4

                                  14           The Government is correct that, in some circumstances, access to full discovery may

                                  15   obviate any need for a bill of particulars. See Long, 706 F.2d at 1054 (holding that even where an

                                  16   indictment does not apprise the defendant of the charges against him, “full discovery will obviate

                                  17   the need for a bill of particulars”). However, there are situations where courts have required a bill

                                  18   of particulars despite voluminous discovery. For example, in United States v. Wong, the court

                                  19   found that 150,000 to 200,000 pages of discovery and additional non-documentary evidence did

                                  20   not obviate the need for a bill of particulars where the case was “factually and legally complex,

                                  21   encompass[ed] numerous alleged conspiracies, and involve[d] dozens of defendants and alleged

                                  22   grow-sites.” No. CR 06-428 SI, 2007 WL 404807, at *2 (N.D. Cal. Feb. 2, 2007).

                                  23           Ultimately, the Court finds that “the volume of materials and the complexity of the case”

                                  24   weigh in favor of granting a bill of particulars. ECF No. 98 at 4; see Wong, 2007 WL 404807, at

                                  25

                                  26   4
                                        Counts 5-7 identify only P LLC as a victim of the alleged scheme. ECF No. 15 ¶¶ 36-39.
                                  27   Counts 12-15 identify G Inc. and its directors, B.F. Limited Partnership and its representatives,
                                       S.K., E.J., R.G., and L.G. ECF No. 15 ¶ 43. Counts 16-23 identify the 2015 Fund, the 2016 Fund,
                                  28   H Corporation, M.A., G. Inc., D.F.V. Limited Partnership, N.M., C Capital, A Capital, and K
                                       Capital. Id. ¶ 49.
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                                          Case 3:20-cr-00266-JST Document 109 Filed 12/06/21 Page 5 of 6




                                   1   *2. To date, the Government has provided Rothenberg with “more than 475,000 Bates-numbered

                                   2   pages or items,” including emails, business records, reports of witness interviews, and a “hard

                                   3   drive containing ~300 GB of data from RVMC that was provided by a third-party to the SEC.”

                                   4   ECF No. 95 at 8. Due to the complexity of this case—which involves “a net amount of nearly $46

                                   5   million from about 200 investors”—the Court finds it unreasonable to expect Rothenberg to try

                                   6   and identify unenumerated victims in this mountain of discovery. Id. at 2.

                                   7           Under these circumstances, the Court finds it appropriate to strike references to “potential

                                   8   investors” and “certain investors” in Counts 5-7 and 12-23. If the Government wishes to

                                   9   supplement the superseding indictment with additional information about the victims, it may do

                                  10   so. The Court notes that if the government chooses not to identify victims by name, it must

                                  11   include enough information to provide assurance “that the indictment and [potential] prosecution

                                  12   [are] in fact for the same violations.” See Lonich, 2016 WL 324039, at *7.
Northern District of California
 United States District Court




                                  13           B.      Aiding and Abetting Liability

                                  14           “Aiding and abetting is implied in every federal indictment for a substantive offense.”

                                  15   United States v. Armstrong, 909 F.2d 1238, 1241 (9th Cir. 1990). Accordingly, an “indictment

                                  16   may charge a defendant with being both a principal and an aider and abettor.” United States v.

                                  17   Ellis, 121 F. Supp. 3d 927, 941 (N.D. Cal. 2015), supplemented, No. 13-CR-00818 PJH, 2015 WL

                                  18   6551628 (N.D. Cal. Oct. 29, 2015). A defendant is entitled to knowledge of the Government’s

                                  19   theories, not evidence. Ryland, 806 F.2d at 942. Thus, a defendant is “entitled to know whether

                                  20   the Government is proceeding on an aiding and abetting theory,” but not “the particular aiding and

                                  21   abetting conduct that the Government may intend to present at trial . . . .” United States v. Vargas,

                                  22   No. 15-CR-00530-BLF-2, 2016 WL 1446773, at *4 (N.D. Cal. Apr. 13, 2016).

                                  23           The Court will not exercise its discretion to strike “aiding and abetting” from the

                                  24   superseding indictment. The presence of both principal and aider and abettor liability in each

                                  25   count of the superseding indictment is an accepted practice. See Armstrong, 909 F.2d at 1241-42;

                                  26   Ellis, 121 F. Supp. 3d at 941. There is no prejudice from Rothenberg from the inclusion of a

                                  27   charge that is already implicit in the indictment. Thus, the motion to strike “aiding and abetting

                                  28   liability” is denied.
                                                                                         5
                                          Case 3:20-cr-00266-JST Document 109 Filed 12/06/21 Page 6 of 6




                                   1          Rothenberg requests, in the alternative, that the Court direct the Government to identify

                                   2   whom he allegedly aided and abetted through a bill of particulars. Rothenberg does not claim that

                                   3   the Government’s theories are unclear in the superseding indictment. See ECF No. 86 at 3 (“every

                                   4   single count in the superseding indictment alleged Mr. Rothenberg committed a substantive crime

                                   5   as well as aided and abetted the same crime”). Instead, Rothenberg argues that the Government

                                   6   must also provide the identity of anyone included in the aiding and abetting charges. Rothenberg

                                   7   asks too much. Unlike the references to “certain” and “prospective” investors, the “aiding and

                                   8   abetting liability” charges are described in sufficient detail. See ECF No. 15 ¶¶ 28.f, 38.e, 44.b,

                                   9   44.c, 44.d, 44.e, 48.b & 48.c. Because the counts include dates, identifiable victims, and the

                                  10   amount of money at issue in each scheme, the Court finds that Rothenberg can reasonably search

                                  11   the discovery in his possession for more information on the aiding and abetting charges.

                                  12                                             CONCLUSION
Northern District of California
 United States District Court




                                  13          For the reasons set above, the Court grants Rothenberg’s motion to strike references to

                                  14   “certain investors” and “potential investors” as victims in Counts 5-7 and 12-23. In all other

                                  15   respects, Rothenberg’s motion to strike is denied.

                                  16          IT IS SO ORDERED.

                                  17       Dated: December 6, 2021
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                                  18
                                                                                                      JON S. TIGAR
                                  19                                                            United States District Judge

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